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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         :
                                                 :
        v.                                       :          Crim No. 1:22-cr-00354-RCL
                                                 :
RICHARD SLAUGHTER, and                           :
CADEN PAUL GOTTFRIED,                            :
                                                 :
             Defendants.                         :

  UNITED STATES’ RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION IN
 LIMINE TO PRECLUDE GOVERNMENT STATEMENTS OF MEDICAL INJURIES

       The United States of America respectfully submits this response in opposition to

Defendants’ “Motion in Limine to Preclude Government Statements of Medical Injuries by

Defendants [sic] Unless Timely, Corrosponding [sic], Injury Reports and Medical Records Exist”

(“the Motion”), Doc. 67. In the motion, defendants ask the Court to for “an order precluding the

government from presenting police (or other) witnesses who claim to suffer medical harms or

mental injuries stemming from the defendants unless those witnesses previously documented their

injuries, as the law and polices requires, and unless defense counsel has been timely provided with

all medical records and statements.” Id. at 2.

       First, to the extent that there are medical records or injury reports relating to injuries

sustained on January 6, 2021 by the victims in this case and/or the government’s anticipated

witnesses, in the government’s possession, those records have been or will be disclosed to the

defense pursuant to the government’s acknowledged obligations under Brady, Giglio, Jencks, Rule

16, on a timeline compliant with those obligations and this Court’s scheduling order. The

government notes that officers’ injury reports are and have been continuously available to defense

counsel on the Relativity platform used to disseminate Global Discovery in January 6 cases. These

injury reports can be accessed by simply searching for an officer’s name in the platform.
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Accordingly, the government maintains that the gravamen of the defendants’ request is moot – the

records requested, if they exist and are in the government’s possession, have already been produced

or will be produced in short order as the government prepares for trial and identifies its witnesses

for this case.

        Second, to the extent, however, that the motion seeks an order barring live testimony from

the government’s witnesses related to any harms or injuries they suffered during the course of their

service on January 6, 2021, that request is overbroad and not grounded in any statute, Rule of

Evidence, or case law. Notably, the defendants have not cited any legal authority for their request,

because none supports it. The government bears a heavy burden in criminal cases. To prove the

defendants’ guilt beyond a reasonable doubt, the government is entitled to present its case using

evidence, including live testimony, that is relevant to the jury’s determination of the defendants’

guilt, see Federal Rule of Evidence 401; that is admissible, see Rule 402; and that does not run

afoul of Rule 403’s balancing test.

        Here, the government cannot—and is not required to—precisely predict what all of its

witnesses may say about the harms and injuries that they sustained during January 6, 2021. Given

the context of the attack on the Capitol, it is not uncommon or surprising that officers sustained

physical and mental injuries that they may or may not have reported or sought medical treatment

for. That does not mean, however, that they should be barred from explaining to the jury their full

experience, including injuries and harms that they may not have sought formal, medical treatment

for, such as muscle soreness, bruises, sleeplessness, irritability, anxiety, weight loss/gain, and the

like. Defense counsel is of course welcome to cross-examine the government’s witnesses about

such testimony and explore why or why not the witness did not seek medical treatment for these

conditions. But that does not mean that the witness should be barred from testifying to relevant



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facts that bear on the defendants’ guilt.

       Accordingly, the United States respectfully asks the Court to deny the defendants’ Motion

in Limine.

                                                   Respectfully submitted,

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